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                  UNITED STATES COURT OF INTERNATIONAL TRADE
               BEFORE: THE HONORABLE GARY S. KATZMANN, JUDGE
__________________________________________
                                           )
THE ANCIENTREE CABINET CO., LTD.,          )
                                           )
              Plaintiff,                   )
                                           )
CABINETS TO GO, LLC,                       )
                                           )
              Plaintiff-Intervenor,        )
                                           )
      v.                                   )      Court No. 20-00114
                                           )
UNITED STATES,                             )
                                           )
Defendant,                                 )
                                           )
      and                                  )
                                           )
AMERICAN KITCHEN CABINET ALLIANCE, )
                                           )
Defendant-Intervenor.                      )
__________________________________________)

                                             ORDER

       Upon consideration of Defendant-Intervenor’s Motion to Strike Portions of Plaintiff’s

Post-Argument Submission (ECF 53), all responses thereto, and all other papers and proceedings

herein, and upon due deliberation and consideration of the same, it is hereby

       ORDERED that all portions of Plaintiff’s Post-Argument Submission and the

accompanying attachment which contain material not on the record, as identified in Defendant-

Intervenor’s Motion to Strike, be and hereby are stricken from the record; and it is further

       ORDERED that Plaintiff shall re-file its Post-Argument Submission with the stricken

portions and attachment removed within three business days of this order.
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      It is SO ORDERED.

                                               ____________________________________
                                                Honorable Gary S. Katzmann, Judge
                                                U.S. Court of International Trade

Dated: ___________________________, 2021
       New York, New York




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                 UNITED STATES COURT OF INTERNATIONAL TRADE
               BEFORE: THE HONORABLE GARY S. KATZMANN, JUDGE
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THE ANCIENTREE CABINET CO., LTD.,          )
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              Plaintiff,                   )
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              Plaintiff-Intervenor,        )
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      v.                                   )  Court No. 20-00114
                                           )
UNITED STATES,                             )
                                           )
Defendant,                                 )
                                           )
      and                                  )
                                           )
AMERICAN KITCHEN CABINET ALLIANCE, )
                                           )
Defendant-Intervenor.                      )
__________________________________________)

          DEFENDANT-INTERVENOR’S MOTION TO STRIKE PORTIONS
               OF PLAINTIFF’S POST-ARGUMENT SUBMISSION




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                                               Cabinet Alliance

Dated: April 21, 2021
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                   UNITED STATES COURT OF INTERNATIONAL TRADE
               BEFORE: THE HONORABLE GARY S. KATZMANN, JUDGE
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                                           )
THE ANCIENTREE CABINET CO., LTD.,          )
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              Plaintiff,                   )
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CABINETS TO GO, LLC,                       )
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              Plaintiff-Intervenor,        )
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      v.                                  )   Court No. 20-00114
                                          )
UNITED STATES,                             )
                                           )
Defendant,                                )
                                          )
      and                                 )
                                           )
AMERICAN KITCHEN CABINET ALLIANCE, )
                                           )
Defendant-Intervenor.                              )
__________________________________________)

           DEFENDANT-INTERVENOR’S MOTION TO STRIKE PORTIONS
                OF PLAINTIFF’S POST-ARGUMENT SUBMISSION

       Pursuant to Rules 12(f) and 81(m) of the Rules of this Court, the American Kitchen

Cabinet Alliance (“AKCA”) moves to strike portions of Plaintiff’s April 19, 2021 Post-

Argument Submission (ECF 53) and the attachment thereto. As discussed below, certain portions

of Plaintiff’s submission contain material that is not part of the agency record in this action.

Furthermore, Plaintiff submitted this material in flagrant violation of the Rules of the Court, and

failing to strike this information may seriously prejudice or mislead the Court in the adjudication

of this matter. Accordingly, the AKCA respectfully requests that the material be stricken from

the record and that Plaintiff should be instructed to refile its Post-Argument Submission without

the material in question.
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I.     Legal Standard

       Judicial review is limited to the administrative record developed by the agency. See 19

U.S.C. § 1516a(a)(2); see also Kerr-McGee Chem. Corp. v. United States, 21 CIT 1179, 1181-

82, 985 F. Supp. 1162, 1164 (1997) (citing cases). This Court “may consider only materials

contained in the administrative record.” Id. The statute defines the record as consisting of:

       (i) a copy of all information presented to or obtained by the Secretary, the
       administering authority, or the Commission during the course of the
       administrative proceeding, including all governmental memoranda pertaining to
       the case and the record of ex parte meetings required to be kept by section 1677f
       (a)(3) of this title; and
       (ii) a copy of the determination, all transcripts or records of conferences or
       hearings, and all notices published in the Federal Register.

19 U.S.C. § 1516a(b)(2)(A) (emphasis added); see also Beker Indus. Corp. v. United States, 7

CIT 313, 315 (1984) (recognizing that “it is clear to this court that Congress intended to limit the

scope of record for review to the particular determination made”). Only in “exceptional

circumstances,” “such as where a document was considered by the agency and not included in

the record,” will this Court consider information that was not included in the agency record filed

with the court. Kerr-McGee, 21 CIT at 1181–82, 985 F. Supp. at 1163–64 (internal quotation

marks and citations omitted).

       The Court has entertained motions to strike material submitted by parties that is outside

the agency record, but has cautioned that such action is considered an “extraordinary measure,”

Acciai Speciali Terni S.p.A. v. United States, 24 CIT 1211, 1217, 120 F.Supp.2d 1101, 1106

(2000), and as such should only be “granted when there is a ‘flagrant disregard of the rules of the

court,’ as when ‘the brief demonstrates a lack of good faith, or ... the court would be prejudiced

or misled by the inclusion in the brief of the improper material.’” Rhodia, Inc. v. United States,

26 CIT 1107, 1109 n. 5, 240 F.Supp.2d 1247, 1249 n. 5 (2002) (quoting Jimlar Corp. v. United

States, 10 CIT 671, 673, 674 F .Supp. 932 (1986)). Depending upon the circumstances of the
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particular case, it may be appropriate to strike an entire brief, to strike improper portions of a

brief, or to disregard any objectionable matter contained in the brief. Cf., e.g., Brookside

Veneers, Ltd. v. United States, 9 CIT 596 (1985) with Edge Import Corp. v. United States, 82

Cust.Ct. 343, C.R.D. 79–7 (1979).

II.     Plaintiff’s Brief Contains Material That Was Submitted In Flagrant Violation of the
        Rules of the Court and to Prejudice and Mislead the Court.

        As demonstrated below, certain portions of Plaintiff’s Post-Argument Submission meet

the threshold established by this Court for being stricken from the record, because they were

submitted in flagrant violation of the Rules of the Court and to prejudice and mislead the Court.

One of the key issues in this case is whether Plaintiff’s suggestion of certain HTS codes in its

surrogate value submission constitutes actual “evidence” of the nature of its inputs or simply a

suggestion of how those inputs should be valued. In an attempt to salvage its argument on this

issue, Plaintiff submits the following in its brief:

        Rather, it is most common in antidumping proceedings that further details
        concerning the nature of inputs is discussed in surrogate value submissions or
        potentially later supplemental questionnaires. For example, in several reviews of
        Crystalline Silicon Photovoltaic Cells from China, Commerce has issued
        supplemental questionnaires on the nature of inputs when it was uncertain
        whether the HTS recommended by the respondent was correct. See Attachment.
        Commerce’s lack of curiosity with respect to Ancientree’s assertions reasonably
        infers the descriptions were accepted; but would also justify remand to elicit any
        needed clarification.

See Plaintiff’s Post-Argument Submission at 4. The attachments referenced in this passage are

supplemental questionnaires issued by the U.S. Department of Commerce (“Commerce”) in

administrative reviews of Crystalline Silicon Photovoltaic Cells from China. These documents

are from completely separate administrative proceedings and are nowhere to be found on the

record of the underlying proceeding at issue in this action. Plaintiff has thus submitted these

documents to the Court in flagrant disregard for the Rules of the Court.


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       In addition, these documents have been submitted in a manner that prejudices and

misleads the Court. Plaintiff mischaracterizes the significance of these documents by suggesting

that they show it is common for respondents to submit additional details regarding the nature of

their inputs in surrogate value submissions. Plaintiff also prejudices the Court by stating that

Commerce’s decision not to issue additional supplemental questionnaires constitutes assent to

the HTS codes in a respondent’s surrogate value submission. The AKCA vigorously and

resoundingly objects to these assertions. However, to “set the record straight” on this matter

would require examining the entire record of the reviews in Crystalline Silicon Photovoltaic

Cells from China as well as the record of other proceedings conducted by Commerce.1 This

would not only be a violation of the Rules of the Court and the statutory standard of review but

would also be a waste of the parties’ resources. Accordingly, the above-referenced passage and

attachment should be stricken. Sachs Automotive Prods. Co. v. United States, 17 CIT 740, 741–

42 (1993) (striking party’s brief because it contained “numerous objectionable citations” to

materials outside of the administrative record and it would not “be fair to the other parties to

require them to respond to a submission replete with references dehors the record”).

       Another key issue in this case is whether Plaintiff ever submitted evidence to Commerce

in the underlying investigation that its sawnwood inputs were planed or endjointed. To bolster

its otherwise completely unsupported claims that it did, Plaintiff submits the following:




1
       The AKCA notes, however, that even the materials submitted by Plaintiff – by
       themselves and without any additional context – demonstrate that respondents are
       permitted to describe the nature of their inputs in original questionnaire responses or in
       supplemental questionnaire responses. Commerce does not accept the HTS codes
       suggested by a respondent in a surrogate value submission as evidence of the nature of its
       inputs. See Plaintiff’s Post-Argument Submission at Attachment.
                                                  4
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       Commerce also observed this at verification, fully aware from Ancientree’s
       surrogate value submissions and preliminary comments that Ancientree
       maintained its sawnwood was not planed or endjointed.

See Plaintiff’s Post-Argument Submission at 4. Commerce’s observations during its verification

of Ancientree are reflected in the verification report that the agency issued, and nowhere in that

report does Commerce state that it observed the sawnwood inputs were not planed or endjointed.

See Commerce Ancientree Verification Report (Dec. 10, 2019) (C.D. 1530, P.D. 1502). As it did

during oral argument, Plaintiff misleads the Court by suggesting that Commerce officials

personally observed that Plaintiff’s sawnwood inputs were not planed or endjointed. Plaintiff’s

statement regarding what happened at verification are not record evidence of what actually

happened at verification. Thus, this so-called “information” is not on the record and should be

stricken from Plaintiff’s Post-Argument Submission.


III.   Conclusion

       For the foregoing reasons, the AKCA respectfully requests that this Court enter an Order

striking the identified passages and attachment of Plaintiff’s Post-Argument Submission and

requiring Plaintiff to file a new version of its submission with the offending material removed.


                                                     Respectfully submitted,

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Dated: April 21, 2021




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